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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

  IN RE:                                             §
                                                     §     CASE NO: 22-491
  MIDWEST RECOVERY SYSTEMS LLC                       §




 CACi’S RESPONSE TO THE COURT’S ORDER REQUIRING CACi TO APPEAR OR
                     TO REGISTER ADDRESS (Doc. 7)

         On May 4, 2022, this Court entered its Order Requiring CACi To Appear or to Register

 Address (the “Order”), Doc. 7. This Order states that “[n]ot later than May 16, 2022, CACi may

 formally appear in this proceeding, or may file a statement that it has directed the notices to be

 sent to CACi.

         CACi hereby states that it is in the process of having the electronic BNC notices

 forwarded from MRS to CACi. This has turned into a more difficult task than anticipated given

 that MRS never signed up for electronic BNC notifications to begin with. As such, CACi is not

 able to simply have MRS’ electronic BNC notices forwarded to it as, again, MRS has never

 received electronic BNC notices to begin with. Nevertheless, CACi is diligently working with

 the BNC to determine how to ensure that all electronic BNC notices for MRS are forwarded to

 CACi.

         In the event more is needed from the Court, and in accordance with the Court’s Order,

 CACi is also formally appearing by counsel. CACi is eager to fulfill any other directives of the

 Court and feels as though engaging counsel will make doing so in a prompt manner easier.




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Dated: May 16, 2022                          Respectfully submitted,

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                                             /s/ Xerxes Martin
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                                             COUNSEL FOR CONSUMER
                                             ADJUSTMENT COMPANY, INC.

                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing has been
forwarded via CM/ECF on this 16th day of May, 2022, to the following recipients:



                                               /s/ Xerxes Martin




BNC Notice                                                                                 Page 2 of 2
